




Affirmed and Memorandum Opinion filed November 29, 2007








Affirmed
and Memorandum Opinion filed November 29, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00268-CR

____________

&nbsp;

TRACEY DENISE SIMS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 180th District
Court

Harris County, Texas

Trial Court Cause No.
1047473

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Before
the conclusion of a jury trial, appellant entered a plea of guilty to the
offense of aggregate theft of over $200,000.&nbsp; The jury assessed punishment, and
on February 28, 2007, the trial court sentenced appellant to confinement for
forty years in the Institutional Division of the Texas Department of Criminal
Justice and assessed a fine of $10,000.&nbsp; Appellant filed a pro se notice of
appeal.








Appellant=s appointed counsel filed a brief in
which she concludes the appeal is wholly frivolous and without merit.&nbsp; The
brief meets the requirements of Anders v. California, 386 U.S. 738, 87
S.Ct. 1396 (1967), by presenting a professional evaluation of the record and
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807, 811-12 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; As of this date, more
than sixty days has elapsed and no pro se response has been filed.

We have
carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; See Bledsoe v. State, 178 S.W.3d
824, 827-28 (Tex. Crim. App. 2005).&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.&nbsp; 

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 29, 2007.

Panel consists of Chief Justice Hedges and Justices
Anderson and Seymore. 

Do Not Publish C Tex. R. App. P.
47.2(b).





